Case 1:23-cv-00892-KMW-AMD Document 24 _ Filed 08/14/24 Page 1 of 1 PagelD: 567

NOT FOR PUBLICATION

IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF NEW JERSEY

CAMDEN VICINAGE
8.5., HONORABLE KAREN M. WILLIAMS
Plaintifé,
v. Civil Action
DEZARAE COLLINS, No, 23-0892 (KMW-AMD)
Defendant.
ORDER

THIS MATTER having come before the Court by way of a hearing to determine the issue
of damages following this Court’s entry of default judgment in favor of Plaintiff S.S. (“Plaintiff”)
and against Defendant Dezarae Collins (“Defendant”); and the Court having considered the
submissions of Plaintiff and heard the arguinents of counsel during oral argument held on August
13, 2024; and the Court noting the appearance of counsel: Daniel Szalkiewicz, Esq., appearing on

behalf of Plaintiff, and for the reasons set forth on the record and for good cause shown;
IT IS this | 7 day of August, 2024 hereby

ORDERED that the Court’s finding on the issue of damages is RESERVED, and it is

further

ORDERED that on or before September 16, 2024, Plaintiff shall supplement the record

with his medical records and Defendant’s employment records.

KAREN M. WILLIAMS
United States District Judge
